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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA               :
                                       :
             v.                        :       Case No. 21-cr-123-PLF
                                       :
VITALI GOSSJANKOWSKI                   :
                                       :
                   Defendant.          :


                                [PROPOSED] ORDER

      Upon consideration of the defendant’s motion for a judgment of acquittal or for a

new trial, it is hereby ORDERED that the defendant’s motion is DENIED.




Date: _____________                         ______________________________
                                               HON. PAUL L. FRIEDMAN
                                           UNITED STATES DISTRICT JUDGE
